                            UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION


UNITED STATES OF AMERICA,           )
                                    )
            vs.                     )                        3:12-CR-00239
                                    )
VICTORIA HUNT (5)                   )
____________________________________)

                                                   ORDER

        THIS MATTER is before the Court upon the defendant’s Motion for Permission to

Travel out of State of Employment Purposes (Doc. No. 873). It appearing that there is good

cause for the granting of said Motion;

        IT IS THEREFORE ORDERED that the defendant’s Motion is hereby GRANTED,

and she shall be allowed to travel to Virginia Beach, Virginia for training on Thursday, February

19, and Friday, February 20, 2015,1 pursuant to her employment with Legal Resources.

SO ORDERED.

  Signed: February 17, 2015




1 Defendant’s Motion requested travel for Wednesday the 18th and Thursday the 19th; Defendant has notified the
Court that, due to inclement weather, the dates of the event have been pushed back by a day.



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